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                      UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY

 W.A.O., H.H.M.C., N.L.J., and        Case No. CV
 K.M.R.L., on behalf of themselves
 and all others similarly situated,

                     Plaintiffs,

                v.
                                      MEMORANDUM OF LAW
 LEE FRANCIS CISSNA, Director,        IN SUPPORT OF
 U.S. Citizenship and Immigration     PLAINTIFFS’ MOTION FOR A
 Services; KEVIN McALEENAN,           PRELIMINARY INJUNCTION
 Acting Secretary, U.S. Department
 of Homeland Security; ROBERT
 COWAN, Director, National
 Benefits Center, U.S. Citizenship
 and Immigration Services;
 UNITED STATES
 DEPARTMENT OF HOMELAND               ORAL ARGUMENT REQUESTED
 SECURITY; and UNITED
 STATES CITIZENSHIP AND
 IMMIGRATION SERVICES,

                     Defendants.
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                            PRELIMINARY STATEMENT
          This class action challenges the federal government’s recent refusal to grant

 Special Immigrant Juvenile Status (“SIJS”) to young people who were between 18

 and 21 years old when they obtained child welfare findings from a state juvenile

 court, a necessary predicate to petitioning for SIJS. Congress created SIJS to

 protect vulnerable immigrant children by allowing them to remain lawfully in the

 United States in loving and stable homes after one or more of their parents proved

 unwilling or unable to care for them.        In violation of the federal statute and
 regulations governing SIJS, Defendants have imposed a new eligibility

 requirement, resulting in the delay and denial of scores of meritorious petitions and

 placing young people in jeopardy of deportation.
          The controlling statute, 8 U.S.C. § 1101(a)(27)(J) (the “SIJS Statute”),

 delineates clear roles for the state courts and United States Citizenship and

 Immigration Services (“USCIS”) in the process: first, in the context of a family

 law proceeding, a “juvenile court” makes specified factual findings grounded in

 state child welfare laws (“SIJ Findings”); second, USCIS adjudicates the SIJS

 petition, which must include the SIJ Findings, to determine whether the child
 qualifies for immigration relief. Accordingly, USCIS relies on SIJ Findings from

 state courts, which themselves determine whether they have the authority under

 state law to issue such orders. The SIJS Statute affords relief to any qualifying
 juvenile who submits a SIJS petition to USCIS before turning 21.

          Here, USCIS has acted outside its authority and usurped state authority by

 denying SIJS to juveniles who were between the ages of 18 and 21 when they

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 received predicate orders from the Superior Court of New Jersey, Chancery

 Division, Family Part (the “Family Part”).      Sometime in 2018, USCIS began

 imposing a new requirement for eligibility: that the Family Part have jurisdiction to

 order a juvenile to return to the custody of the parent. This requirement has no

 basis in the law. Moreover, contrary to state law as interpreted by the New Jersey

 Appellate Division, USCIS has concluded that the Family Part lacks such

 jurisdiction with respect to juveniles older than 18. USCIS’s delays and denials

 under this policy represent a sharp break with past practice and violate the

 Administrative Procedure Act (“APA”).

       The named Plaintiffs and those similarly situated face immediate, irreparable
 harms unless this Court issues a preliminary injunction. These harms include the

 imminent threat of deportation, notwithstanding findings by the New Jersey Family

 Part that it would be against the best interest of each and every member of the
 proposed class to be repatriated. These best-interest findings often rest on the

 absence of any fit caretaker in the juvenile’s home country and sometimes also on

 the need to protect the juvenile from continuing exposure to violence there. In
 cases where the New Jersey Family Part has vested custody in an adult caretaker,

 deportation would also uproot the juvenile from what is often the first stable home

 he or she has ever known.

       Federal district courts in California and New York have preliminarily or

 permanently enjoined this policy and pattern of denials. J.L. v. Cissna, 341 F.

 Supp. 3d 1048 (N.D. Cal. 2018) (preliminary injunction), appeal filed (9th Cir.

 Dec. 24, 2019); R.F.M. v. Nielsen, No. 18-CV-5068 (JGK), 2019 WL 1219425


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 (S.D.N.Y. Mar. 15, 2019) (granting summary judgment), ECF No. 129 (entering

 judgment) (S.D.N.Y. Apr. 8, 2019). Juveniles in this age group in Washington

 State have also filed a challenge. Class Action Complaint for Injunctive and

 Declaratory Relief, Moreno Galvez v. Cissna, No. 2:19-cv-00321 (W.D. Wash.

 Mar. 5, 2019), ECF No. 1.

         Plaintiffs seek declaratory and injunctive relief to stop USCIS from relying

 on an extra-statutory eligibility requirement for SIJS that violates federal law and

 poses an immediate risk of irreparable harm to them and the class they represent.

 Plaintiffs respectfully request that this Court compel the government to rescind the

 improper SIJS denials and revocations already issued, reopen those SIJS petitions,
 and enjoin any future denials or revocations of SIJS based on USCIS’s assertion

 that the Family Part lacks authority to place juveniles between the ages of 18 and

 21 in their parents’ custody.

                             STATEMENT OF FACTS
         Plaintiffs W.A.O., H.H.M.C., N.L.J., and K.M.R.L. (“Plaintiffs”), on behalf

 of themselves and all other similarly situated individuals (the “Proposed Class”),

 bring this action to protect immigrant youth from the wrongful denial of their SIJS

 petitions and the irreparable harms that follow.

         W.A.O. is a 21-year-old from El Salvador whose father abandoned him at

 birth. Declaration of W.A.O. ¶ 3 (Apr. 14, 2019) (A-92).1 When W.A.O. was six,

 his father was murdered. Id. ¶ 4 (A-93). W.A.O’s mother had intimate partners in


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     Pages in the Appendix are shown as (A-__).


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 El Salvador who habitually abused both her and W.A.O. Id. ¶¶ 5–7, 9 (A-93). She

 migrated to the United States when W.A.O. was nine. Id. ¶ 10 (A-94).

       Living without parental protection in El Salvador, W.A.O. was harassed and

 threatened by local gangs. Id. ¶¶ 14–22 (A-94–96). Gang members attempted

 unsuccessfully to recruit him and met his refusals with threats to his life and the

 lives of his family members. Id. ¶ 18 (A-95). When his uncle confronted the gang

 on W.A.O.’s behalf, the gang ambushed the uncle and fired several shots, hitting

 him in the shoulder. Id. ¶ 20 (A-96). His uncle fled their hometown, and W.A.O.

 was essentially confined to the house as gang members kept watch outside. Id. ¶¶

 19–21 (A-96).
       With his two younger siblings in tow, W.A.O. eventually headed north,

 arriving in the United States in January 2014. Id. ¶ 23 (A-96). Beginning in 2015,

 his mother went to court to seek custody of her children and SIJ Findings on their
 behalf. After an appeal and remand, the Family Part entered its final order on

 December 5, 2017. Id. ¶ 27 & Ex. A (A-97, A-102). In December 2016, W.A.O.

 submitted a SIJS petition to USCIS (based on an earlier, and subsequently updated,
 version of the Family Part Order). Id. ¶ 28 (A-98). Approximately 21 months

 later, in September 2018, USCIS denied his application based on its unlawful

 requirement. Id. ¶ 29 & Ex. B (A-98, A-106). W.A.O.’s younger siblings filed at

 the same time he did, based on the same family history, but they were granted

 SIJS. Id. ¶ 29 (A-98).

       Because he is already in removal proceedings, W.A.O. faces an imminent

 risk of deportation. Deportation to El Salvador would mean re-separation from his


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 mother. W.A.O. cannot bear the idea of being parted from her again; without

 abusive men in the household, he feels safe with her for the first time. Id. ¶ 34 (A-

 100). He has no one in El Salvador to look out for him. Id. (A-100). This would

 make him especially susceptible to renewed gang threats and violence. Id. ¶¶ 32–

 33 (A-99). If he is allowed to stay in this country, W.A.O. will soon start taking

 English classes at Union County College. He aspires to be an engineer or police

 officer but has had to put those dreams on hold because of the wrongful denial of

 his SIJS application. Id. ¶ 35 (A-100).

       H.H.M.C. is a 20-year-old from Honduras. Declaration of H.H.M.C. ¶ 2

 (Apr. 19, 2019) (A-112). His father has neglected and abandoned him since birth.
 Id. ¶ 10 (A-113). His mother migrated to the United States when he was three

 years old, leaving him with his grandparents. Id. ¶ 5 (A-113). When H.H.M.C.

 was 13 years old, a local gang murdered his uncle and then began to threaten and
 harass him. Id. ¶¶ 13–14 (A-113–14). On Christmas Day, 2013, armed gang

 members broke into his home, threatened him and his family, and stole what they

 could carry. Id. ¶ 15 (A-114). H.H.M.C. told his father about the danger he faced,
 but his father did nothing. Id. ¶ 16 (A-114). H.H.M.C. fled Honduras soon

 afterwards.

       Arriving in the United States in March 2014, when he was 15, H.H.M.C.

 was reunified with his mother, who enrolled him in New Brunswick High School.

 Id. ¶¶ 17, 19 (A-115). Three years later, the family went to court so that his mother

 and her new husband could gain custody of H.H.M.C. Id. ¶ 22 (A-116). On May

 30, 2017, the Family Part granted them custody and issued SIJ Findings. Id. & Ex.


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 A (A-116, A-120). In June 2017, H.H.M.C. submitted a SIJS application. Id. ¶ 23

 (A-116). Approximately 19 months later, in January 2019, USCIS denied his

 application based on its unlawful requirement. Id. ¶ 24 & Ex. B (A-116, A-123).

       H.H.M.C. is in removal proceedings and fears that, unless USCIS overturns

 his SIJS denial, he will not be able to avoid deportation to a country where he will

 have no fit caretaker and no protection from gang violence. Id. ¶¶ 25–27 (A-117).

 Here in the United States, H.H.M.C. has many goals he would like to achieve. In

 particular, he wants to learn to work with airplanes, which he has always loved, but

 he understands that he needs legal status to pursue this dream. Id. ¶ 29 (A-117). In

 the meantime, he is working in construction and using his earnings to support his
 family both here and in Honduras. Id. ¶¶ 19–20 (A-115).

       N.L.J. is a 21-year-old from Guatemala. Declaration of N.L.J. ¶ 3 (Apr. 11,

 2019) (A-129). Both of his parents are alcoholics, and his father is a violent one.
 Id. ¶¶ 13–17 (A-130–31). When he was younger, his mother would lie drunk in

 the street, and his father would hit and kick N.L.J. and his siblings when he drank.

 Id. ¶¶ 13, 16 (A-130). His father often dragged N.L.J. to bars with him, and gang
 members frequently approached them and beat them up as they wandered through

 town. Id. ¶¶ 17–18 (A-131).       The penultimate assault resulted in injuries to

 N.L.J.’s arm and a blow that knocked him unconscious. Id. ¶ 23 (A-131). His

 father was also seriously wounded. Id. (A-131). After yet another attack, N.L.J.

 was afraid to leave the house, and his parents were too impaired to help. Id. ¶¶ 25–

 26 (A-132). He fled soon afterwards. Id. ¶ 27 (A-132).




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       N.L.J. arrived in the United States in May 2014 and went to live with his

 sister, her husband, and their young children in Morristown. Id. ¶¶ 28, 29 (A-132).

 In late 2016, his sister petitioned the Family Part for custody of N.L.J., and the

 court issued a custody order and SIJ Findings. Id. ¶ 33 & Ex. A (A-132, A-137).

 In July 2017, N.L.J. submitted a SIJS application to USCIS. Id. ¶ 34 (A-133).

 Approximately 14 months later, USCIS sent him a Notice of Intent to Deny

 (“NOID”) based on its unlawful requirement. Id. ¶ 35 & Ex. B (A-133, A-141).

       N.L.J. is currently in removal proceedings and, unless USCIS changes the

 position stated in the NOID, he faces imminent deportation to Guatemala. Id. ¶ 36

 (A-134). He has no one to look out for him there, no one to protect him from
 repeated and intensifying gang attacks. Id. ¶¶ 37–39 (A-134). In contrast, here, he

 is safe and happy living with his sister and her husband. They care for him and

 protect him in ways his parents never did. Id. ¶ 40 (A-134). He was an excellent
 student at Morristown High School, and he hopes to go to college to study math

 and English, eventually becoming a math teacher or an accountant. He knows,

 however, that he cannot achieve these goals unless he gains legal status. Id. ¶ 41
 (A-134).

       K.M.R.L. is a 20-year-old from Guatemala. Declaration of K.M.R.L. ¶ 2

 (Apr. 26, 2019) (A-148). His father was an alcoholic who died when K.M.R.L.

 was almost 13. Id. ¶ 5 (A-149). Because of his father’s drinking, K.M.R.L. started

 working to support the family when he was 10. Id. (A-149). After his father’s

 death, his mother sent him to work full time. He worked 18-hour shifts in a

 sweater factory, alternating with 9-12-hour shifts as a farmworker. Id. ¶¶ 6–9 (A-


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 149). He left Guatemala after four years of this, when he was 17, riding through

 Mexico on top of a train known as “The Beast.” Id. ¶ 10 (A-150).

       K.M.R.L. arrived in the United States in November 2015 and joined his

 older brother in West New York, New Jersey. Id. ¶¶ 10–11 (A-150). On May 22,

 2017, the Family Part placed him in his brother’s custody and entered SIJ Findings

 on his behalf.   Id. ¶ 15 & Ex. A (A-150, A-154).        In June 2017, K.M.R.L.

 submitted a SIJS application to USCIS. Id. ¶ 16 (A-151). Approximately 19

 months later, in January 2019, USCIS sent him a NOID based on its unlawful

 requirement. Id. ¶ 17 & Ex. B (A-151, A-157).

       K.M.R.L. is in removal proceedings. He will be sent back to Guatemala if
 his SIJS petition is denied, as USCIS has said it will be. Id. ¶ 18 (A-151). There,

 he has no fit caretaker. Id. ¶ 20 (A-152). Here, he feels safe living with his

 brother, who has protected and provided for him. Id. ¶ 19 (A-151). Someday,
 K.M.R.L. wants to open up his own business, such as a restaurant or a

 supermarket, but he knows he will need to be in the United States legally in order

 to achieve this dream. Id. ¶ 22 (A-152).

                         STATUTORY BACKGROUND
       In 1990, Congress created Special Immigrant Juvenile Status to protect

 immigrant children in “long-term foster care” and provide them a pathway to

 permanent residence. Immigration Act of 1990, Pub. L. No. 101-649, § 153, 104

 Stat. 4978 (1990).

       The statute did not specify the age of eligibility for SIJS, but the

 Immigration and Naturalization Service (the predecessor agency to DHS) adopted

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 the definition of “child” in the Immigration and Nationality Act (“INA”), meaning

 “an unmarried person under twenty-one years of age.” 8 U.S.C. § 1101(b)(1).

 Thus, the SIJS regulations, promulgated in 1993 and unchanged in all relevant

 respects since then, make SIJS available to children so defined. 58 Fed. Reg.

 42843, 42850 (August 12, 1993) (codified at 8 C.F.R. § 204.11(c)).

       Congress has amended the SIJS Statute three times since it was enacted,

 most recently in 2008, when SIJS eligibility was significantly expanded. The

 Trafficking Victims Protection Reauthorization Act of 2008 (“TVPRA”) removed

 the requirement that the child be eligible for foster care, replacing it with the more

 permissive requirement that a state juvenile court find that “reunification with 1 or
 both of the immigrant’s parents is not viable due to abuse, neglect, abandonment,

 or a similar basis found under State law.” Pub. L. No. 110-457, § 235, 122 Stat.

 5044, 5079 (2008) (codified at 8 U.S.C. § 1101(a)(27)(J)(i)).2           In addition,
 consistent with the INA’s definition of a “child,” the TVPRA amendments

 provided age-out protections so that SIJS would not be denied on the basis of age

 so long as the juvenile was under 21 at the time of filing the petition (even if he or

 she turned 21 while the petition was pending). Id., 122 Stat. at 5080 (codified at 8

 U.S.C. § 1232(d)(6)).

       Under the current SIJS Statute and regulations, a state “juvenile court” must

 make the following findings:
       1.   The petitioner is under 21 years of age;

 2
   The regulations have not been updated to reflect this change. See 8 C.F.R.
 § 204.11.


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       2.   The petitioner is unmarried;

       3.   The petitioner is dependent on the court or to be placed in the custody
            of, or legally committed to, a state agency or individual appointed by
            the court;

       4.   The petitioner cannot be reunified with one or both parents due to
            abuse, neglect, abandonment, or a similar basis found under state law;
            and

       5.   It is not in the petitioner’s best interest to be returned to his or her
            country of nationality or last habitual residence.
 8 U.S.C. § 1101(a)(27)(J); 8 C.F.R. § 204.11(c)(1)–(2).

       A SIJS grantee is eligible to become a lawful permanent resident without

 regard to how he or she arrived in the United States. The bars to permanent
 residence based on unlawful entry, which apply to most other petitioners, are

 statutorily inapplicable to children granted SIJS. 8 U.S.C. § 1255(a), (h).

                                    ARGUMENT
       The test for granting a preliminary injunction is well established. The court
 first considers two essential prerequisites: (1) the movant’s likelihood of success

 on the merits, and (2) the likelihood that the movant will suffer irreparable harm if

 the injunction is denied. If these two threshold showings are made, the court
 considers (3) whether denying an injunction would harm the plaintiffs more than a

 grant would harm the defendants, and (4) whether the public interest favors

 granting the injunction. Winter v. Nat. Res. Def. Council, Inc., 55 U.S. 7, 20
 (2008); Ass’n of N.J. Rifle & Pistol Clubs v. Att’y Gen., 910 F.3d 106, 115 (3d Cir.

 2018).




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 I.    Plaintiffs Have a Likelihood of Success on the Merits.
       A movant makes “a strong showing” of a likelihood of success “if there is ‘a

 reasonable chance or probability, of winning.’” Ass’n of N.J. Rifle & Pistol Clubs,

 910 F.3d at 115 (quoting In re Revel AC, Inc., 802 F.3d 558, 568 (3d Cir. 2015)).

 In this context, however, “‘likelihood’ does not mean more likely than not.”

 Singer Mgmt. Consultants v. Milgram, 650 F.3d 223, 229 (3d Cir. 2011).

       A.        Standard of Review Under the APA
       When reviewing agency action under the APA, the District Court functions

 as an appellate tribunal to “decide all relevant questions of law, interpret

 constitutional and statutory provisions, and determine the meaning or applicability

 of the terms of an agency action.” 5 U.S.C. § 706. The “reviewing court” must

 “hold unlawful and set aside agency action, findings, and conclusions” that are
       (A)       arbitrary, capricious, an abuse of discretion, or otherwise not in
                 accordance with law;

       (B)       contrary to constitutional right, power, privilege, or immunity;

       (C)       in excess of statutory jurisdiction, authority, or limitations, or
                 short of statutory right; [or]

       (D)       without observance of procedure required by law . . . .
 Id. § 706(2).

       Judicial review under this section is “narrow,” and courts must not substitute

 their judgment for the agency’s. Motor Veh. Mfrs. Ass’n v. State Farm Mut. Auto.

 Ins. Co., 463 U.S. 29, 43 (1983). Nevertheless, courts will invalidate agency

 action “if the agency has relied on factors which Congress has not intended it to

 consider,” among other reasons. Id.; see also CBS Corp. v. F.C.C., 663 F.3d 122,


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 137 (3d Cir. 2011). Moreover, judicial deference is at its lowest point when the

 court considers questions of law such as whether the agency action conflicts with

 the controlling statute. Geisinger Cmty. Med. Ctr. v. Sec’y, U.S. Dep’t of Health &

 Human Servs., 794 F.3d 383, 390–91 (3d Cir. 2015) (“While we usually afford

 deference to an agency’s interpretation of a statute it is charged with administering,

 ‘when we are called upon to resolve pure questions of law by statutory

 interpretation, we decide the issue de novo without deferring to [the] agency.’”)

 (quoting Port Auth. Trans-Hudson Corp. v. Sec’y, U.S. Dep’t of Labor, 776 F.3d

 157, 161 (3d Cir. 2015)).

       B.     Defendants’ Adoption and Enforcement of a New Eligibility
              Requirement for SIJS Is Final Agency Action and Therefore
              Subject to Judicial Review Under the APA.
       Sometime in 2018, Defendants adopted a new eligibility requirement that

 made SIJS unavailable to juveniles who petitioned based on New Jersey Family

 Part orders issued between their 18th and 21st birthdays. The adoption of this new

 requirement constituted final agency action subject to judicial review.

              1.    The eligibility requirement at issue is new.
       Before mid-2018, USCIS routinely granted SIJS to juvenile petitioners who
 had obtained SIJ Findings from the Family Part after their 18th birthday (“18+

 Family Part Orders”). After mid-2018, USCIS denied such petitions. Declaration

 of Randi Mandelbaum ¶¶ 19–20 (Apr. 24, 2019) (survey of lawyers for immigrant
 children shows that USCIS granted SIJS petitions based on 18+ Family Part Orders

 before mid-February 2018 but denied them after early September 2018) (A-170);



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 Declaration of Maria Odom ¶ 16 (Apr. 18, 2019) (same) (A-181). USCIS also now

 habitually delays the adjudication of such petitions beyond the statutory deadline.

 TVPRA, 8 U.S.C. § 1232(d)(2) (setting deadline of 180 days to adjudicate SIJS

 petitions); Mandelbaum Decl. ¶ 18 (85 SIJS petitions filed after January 1, 2017,

 based on 18+ Family Part Orders remained pending in late 2018, with 45 having

 been pending for more than 180 days) (A-169). This about-face, resulting in the

 delay and denial of SIJS petitions filed by older youth, constitutes a change in

 agency policy.

       The change followed a (now) well documented series of events. At the end

 of 2016, USCIS consolidated SIJS adjudications, which had previously been made
 by individual field offices, in the USCIS National Benefits Center. USCIS, USCIS

 to Centralize Processing of Special Immigrant Juvenile Cases (Nov. 1, 2016),

 https://www.uscis.gov/news/alerts/uscis-centralize-processing-special-immigrant-
 juvenile-cases. Thereafter, the National Benefits Center requested guidance from

 the USCIS Office of Chief Counsel (“OCC”) regarding state juvenile courts’

 authority to make SIJ Findings for juveniles between the ages of 18 and 21.
       In February 2018, the OCC issued the requested guidance (“OCC

 Guidance”) (A-38–39). The OCC instructed that, “in order for a court order to be

 valid for the purpose of establishing SIJ eligibility, the court must have competent

 jurisdiction to determine both whether a parent could regain custody and to order

 reunification, if warranted.” Id. (A-38). The OCC went on to state:
       Where a court loses the capacity to order reunification with a parent at
       age 18, they [sic] necessarily cannot make a juridical determination
       that reunification is not viable. Accordingly, a state court order

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       finding that parental reunification is not viable will not be considered
       valid for the purpose of establishing SIJ eligibility if the evidence
       submitted by the petitioner does not establish the courts’ jurisdiction
       under state law to place the child under the custody of the allegedly
       unfit parent.
 Id. (A-39).

       In the wake of the OCC Guidance, USCIS amended its Consolidated

 Handbook of Adjudication Procedures (“CHAP”), a non-public manual for USCIS
 personnel who adjudicate petitions. As of April 30, 2018, the CHAP included a

 long discourse, prepared by the OCC, in answer to this question: “Can you clarify

 USCIS’s interpretation of reunification with one or both parents for purposes of
 establishing SIJ Classification, in particular where the petitioner is over 18 at the

 time the order is issued?” USCIS, CHAP, Vol. 6, Part D, Petitions for Special

 Immigrant Juveniles (SIJs) ch. 2.A.1 (April 30, 2018) (A-60). The crux of the
 answer is drawn nearly verbatim from the OCC Guidance: “[I]n order for a court

 order to be valid for the purpose of establishing SIJ eligibility, the court must have

 the power and authority to determine both whether a parent could regain custody

 and to order reunification, if warranted.” Id. (A-60).

       Relying on the OCC Guidance and the CHAP’s reiteration of this Guidance,

 USCIS began to delay and deny SIJS petitions from New Jersey juveniles who

 filed based on 18+ Family Part Orders. This new policy and practice represented a

 sharp break with the past, as advocates for immigrant children had seen no such

 thing before 2018. Mandelbaum Decl. ¶ 24 (A-171); Odom Decl. ¶ 17 (A-181).

 As the New York court held, “The agency’s fundamental reversal in its practices




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 undermines any assertion that it did not change its policies.” R.F.M., 2019 WL

 1219425, at *16.

             2.     USCIS’s adoption of the new policy constitutes final agency
                    action, reviewable by this Court.
       An agency action is final and reviewable if two conditions are met. “First,

 the action must mark the ‘consummation’ of the agency’s decisionmaking

 process.” Bennett v. Spear, 520 U.S. 154, 177–78 (1997). Second, the action must

 determine legal “rights or obligations” or result in “legal consequences.” Id. at

 178. Thus, the “core question[s]” are whether the agency has “completed its

 decisionmaking process” and whether its decision will “directly affect the parties.”

 Franklin v. Mass., 505 U.S. 788, 797 (1992); see also Minard Run Oil Co. v. U.S.

 Forest Serv., 670 F.3d 236, 247 (3d Cir. 2011).
       USCIS’s new policy satisfies this test.     There is nothing “tentative” or

 “interlocutory” about it. Bennett, 520 U.S. at 178. USCIS requested guidance

 from the OCC; held the SIJS petitions of juveniles in this age group while awaiting
 the guidance; after receiving the guidance, incorporated it into the CHAP; and then

 consistently relied on it to delay and deny the SIJS petitions of older juveniles in

 New Jersey. Compl. ¶¶ 38–48. As the Southern District of New York concluded:
 “It was only after the February 2018 Legal Guidance was issued that the agency

 began adjudicating these [SIJS] cases [for older youth] again, and it did so in

 accordance with the February 2018 guidance.” R.F.M., 2019 WL 1219425, at *16.

 Thus, “USCIS’s revision of the CHAP and its implementation of its new policy




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 marks the ‘consummation of the agency’s decision-making process.’” J.L., 341 F.

 Supp. 3d at 1067 (quoting Bennett, 520 U.S. at 178).

       Both the California and New York courts rejected the government’s

 argument that USCIS’s actions were final only as to those juveniles whose SIJS

 petitions had already been denied. These cases do not challenge the particular

 outcome for any individual juvenile, but instead challenge “USCIS’s adoption of a

 dubious legal theory to justify a blanket policy of denying SIJ petitions for

 immigrant juveniles between the ages of 18-20.” Id. at 1066. USCIS’s adoption

 and implementation of that “blanket policy” constitutes final agency action without

 regard to whether any individual juvenile has yet been denied SIJS.
       The second prong of the Bennett test is also met. USCIS relies on the new

 policy to delay and deny the SIJS petitions of Plaintiffs and others in their position.

 This is a “legal consequence” of immense importance, as the denial of SIJS will
 subject Plaintiffs and members of the Proposed Class to the immediate risk of

 deportation and separation from the custodians in whose care the Family Part has

 placed them. As the California court put it, “USCIS’s new policy has ‘a virtually
 determinative effect’ on Plaintiffs’ SIJS petitions.” J.L., 341 F. Supp. at 1068

 (quoting Bennett, 520 U.S. at 169).

       Because the policy represents the culmination of USCIS’s decision-making

 process and disqualifies older juveniles from SIJS eligibility, USCIS’s adoption

 and implementation of the policy constitutes final agency action. This Court

 therefore has jurisdiction to review the policy under the APA.




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       C.     Defendants Violate the APA by Imposing a New Eligibility
              Requirement for SIJS That Contravenes Federal Law.
       USCIS’s policy of rejecting 18+ Family Part Orders on jurisdictional

 grounds violates the SIJS Statute and disregards Congress’s directive that the

 agency must defer to state courts on questions of state law. Because USCIS’s

 policy “is not in accordance with law” it must be enjoined. 5 U.S.C. § 706(2)(A).

              1.    Defendants’ new eligibility requirement is in excess of, and
                    in conflict with, the criteria established by the SIJS Statute
                    and associated regulations.
       USCIS exceeds its authority under the SIJS Statute by requiring petitioners

 to prove that the state court had the power to reunify them with their parents. To
 justify this new prerequisite, USCIS relies on outdated SIJS regulations requiring

 “the court to have competent jurisdiction over dependency and long-term foster

 care decisions.”   OCC Guidance at 1 (A-38).          But the TVPRA deleted all

 references to long-term foster care from the SIJS Statute, which now qualifies any

 child who cannot be safely reunified with “1 or both parents.” Pub. L. No. 110-

 457, § 235, 122 Stat. 5044, 5079 (2008) (codified at 8 U.S.C. § 1101(a)(27)(J)(i)).
 “USCIS’s reliance on the SIJ regulation’s definition of ‘eligible for long-term

 foster care’ holds no weight when Congress explicitly disapproved of that

 language.” J.L., 341 F. Supp. 3d at 1059.3

 3
   While relying on the now defunct foster care provision of the regulations,
 Defendants’ position actually undermines the original intention of the SIJS Statute
 with regard to children in long-term foster care. One reason a child may be
 “deemed eligible for long-term foster care” is that both of the child’s parents are
 deceased. See 8 C.F.R. § 204.11(a) (defining “eligible for long-term foster care” to
 mean that a juvenile court has found that “family reunification is no longer a viable
 option.”). Nothing in the TVPRA or other amendments to the SIJS Statute

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       As other courts tasked with reviewing USCIS’s new requirement have

 found, “[t]he plain text of the implementing regulation imposes no substantive

 requirements before a state court is permitted to make SIJ findings.” J.L., 341 F.

 Supp. 3d at 1059. Neither does the SIJS Statute “outline what types of ‘judicial

 determinations regarding the custody and care of juveniles’ a state court must be

 empowered to make before it has jurisdiction under the SIJ statute. Rather, it

 simply states that the court must have ‘jurisdiction under State law’ to do so.” Id.

 (quoting 8 C.F.R. § 204.11(a)) (internal citation omitted).        Thus, USCIS’s

 “position—that in order to make the factual finding that ‘reunification with 1 or

 both of the immigrant’s parents is not viable,’ the Family Court must also have the
 authority to order reunification with the allegedly unfit parent—is contrary to the

 SIJ statute.”     R.F.M., 2019 WL 1219425, at *19 (quoting 8 U.S.C.

 § 1101(a)(27)(J)(i)) (internal citation omitted).




 suggests an intent by Congress to deprive orphans of the Statute’s protections. See
 Mem. from Michael Aytes, Acting Assoc. Dir., Domestic Ops., USCIS, to
 Regional Directors, et al., at 82 (Sept. 12, 2006) (“[A] juvenile who becomes
 eligible for long term foster care due to the death of his/her parents might be
 considered by a court to have suffered abandonment [under state law].”),
 https://www.uscis.gov/sites/default/files/USCIS/Laws/Memoranda/Static_Files_M
 emoranda/Archives%201998-2008/2006/afm_ch22_091206r.pdf. Yet a juvenile
 court will necessarily lack the power to order the reunification of an orphan with a
 deceased parent. Thus, the OCC Guidance, and USCIS’s adoption of it, directly
 conflicts with the original and ongoing intent of the SIJS Statute to ensure a
 pathway to legal status for immigrant children in the United States whom a
 juvenile court deems abandoned (or something similar) under state law because
 their parents are dead.


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       So too, USCIS’s reliance on this new requirement to target older SIJS

 petitioners is inconsistent with federal law regarding the applicable age limits.

 Under the INA, a “child” is defined as “an unmarried person under twenty-one

 years of age.” 8 U.S.C. § 1101(b)(1). Congress included age-out protections for

 SIJS applicants, prohibiting USCIS from denying a petition “based on age if the

 alien was a child [i.e., under 21] on the date on which the alien applied for such

 status.” 8 U.S.C. § 1232(d)(6).

       Mirroring the INA definition, the SIJS regulations provide that a petitioner is

 considered a “juvenile” if he or she is “unmarried” and “under twenty-one years of

 age.” 8 C.F.R. § 204.11(c)(1)–(2). This regulation “explicitly contemplates the
 possibility that the SIJS Statute may apply to individuals past a state’s age of

 majority.” J.L., 341 F. Supp. 3d at 1060. Indeed, in promulgating the final

 regulation, the agency amended its initial interim regulation, which had made a
 petitioner eligible if he or she was “a juvenile under the law of the state.” 56 Fed.

 Reg. 23207, 23208 (May 21, 1991).          Commenters objected to this language,

 pointing out that “definitions of the terms ‘juvenile,’ ‘minor,’ and ‘child’ vary from
 state to state.” 58 Fed. Reg. 42843, 42846 (Aug. 12, 1993). The agency responded

 by setting the cut-off at 21:
       [I]n order to minimize confusion caused by dissimilar state laws, the
       Service has removed the requirement that the beneficiary be a juvenile
       under state law and replaced it with a requirement the beneficiary be
       under twenty-one years of age. The new requirement establishes a
       consistent countrywide definition of the age at which an alien will no
       longer be eligible for special immigrant juvenile status.




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 Id. The agency explained further: “The revised standard allows students and other

 young persons who continue to be dependent upon the juvenile court after reaching

 the age of eighteen to qualify for special immigrant juvenile status.” Id.

       Thus, under the controlling law, a juvenile qualifies for SIJS until the age of

 21 so long as the juvenile court has “jurisdiction under State law” to make the

 requisite findings. 8 C.F.R. § 204.11(a). Insofar as USCIS’s delay and denial of

 the SIJS petitions of older juveniles rests on Defendants’ view that the New Jersey

 Family Part lacks jurisdiction under state law, Defendants are wrong.

              2.    Defendants have failed to defer to state court decisions on
                    questions of state law, as required by the SIJS Statute.
       USCIS’s policy of denying SIJS to older juveniles fails to defer to the

 Family Part’s findings as mandated by the SIJS Statute. The SIJS Statute reserves
 for the juvenile court the duty to make the required custody, dependency, or legal

 commitment determination; to find that the child cannot reunify with one or both

 parents due to abuse, neglect, abandonment, or a similar basis under state law; and

 to make the best-interest determination. 8 U.S.C. § 1101(a)(27)(J)(i)–(ii); see also

 H.S.P. v. J.K., 223 N.J. 196, 200–01, 208–13 (2015).          The SIJS regulations

 similarly direct juvenile courts “having jurisdiction under State law” to make SIJS
 findings and instruct these courts to make dependency determinations “in

 accordance with state law.” 8 C.F.R. § 204.11(a), (c)(3). USCIS’s own guidance

 materials are in accord, stating that “[g]enerally, a petition should not be denied
 based on USCIS’ interpretation of state law, but rather officers should defer to the

 juvenile court’s interpretation of the relevant state laws.” CHAP, Vol. 6, Part D,


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 ch. 2.B.1 (A-65). And “[t]here is nothing in USCIS guidance that should be

 construed as instructing juvenile courts on how to apply their own state law.

 Juvenile courts should follow their state laws on issues such as when to exercise

 their authority, evidentiary standards, and due process.” USCIS Policy Manual,

 Vol. 6, Part J, ch. 3.A.2 (last updated Apr. 19, 2019) (A-22). Thus, in keeping with

 principles of federalism, immigration officials are required to defer to state courts

 on matters of state law.

       Under the SIJS regulations, USCIS owes deference in particular to a

 “juvenile court,” defined as one having “jurisdiction under State law to make

 judicial determinations about the custody and care of juveniles.”          8 C.F.R.
 § 204.11(a). The New Jersey Family Part is such a court. The state constitution

 creates the Family Part, N.J. Const. art. VI, § 3, ¶ 3, and the New Jersey Supreme

 Court has exercised its authority under this article to vest in the Family Part
 jurisdiction to hear “[a]ll actions in which the principal claim is unique to and

 arises out of a family or family-type relationship,” N.J. Ct. R. 5:1-2.4 New Jersey

 statutes confirm the jurisdiction of the Superior Court in all family law matters.

 See generally N.J. Stat. Ann. §§ 9:1-1 to 9:3A-7.4, 2A:4A-23 to -48, 30:4C-1.1 to

 -92. Moreover, the New Jersey Appellate Division has explicitly held that, for the


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   Family Part cases include, among others, those to determine the custody of a
 child, see generally N.J. Ct. R. 5:8; establish kinship legal guardianship, see
 generally N.J. Ct. R. 5:9A; order an adoption, see generally N.J. Ct. R. 5:10; place
 a child with the New Jersey Division of Child Protection and Permanency, see
 generally N.J. Ct. R. 5:12; and adjudicate juvenile delinquency, see generally N.J.
 Ct. Rs. 5:19 to 5:25.


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 purpose of SIJ Findings, the Family Part “always” has “jurisdiction under state law

 to make judicial determinations about the custody and care of juveniles” in

 accordance with 8 C.F.R. § 204.11(a). A.E.C. v. P.S.C., 453 N.J. Super. 19, 30

 (App. Div. 2018).

       In A.E.C., the Appellate Division also resolved the question of whether the
 Family Part may exercise jurisdiction over older juveniles: the answer is yes. 453

 N.J. Super. at 29. The court relied primarily on a New Jersey statute that sets the

 age of majority in general at 18, but not “with respect to the right of a court to take
 any action it deems appropriate and in the interest of a person under 21 years of

 age.” N.J. Stat. Ann. § 9:17B-3; see also O.Y.P.C. v. J.C.P., 442 N.J. Super. 635,

 642–43 (App. Div. 2015) (outlining statutory bases for Family Part jurisdiction
 over 18-21-year-olds). Pursuant to this statutory exception, the A.E.C. court held

 that “the Family Part has jurisdiction to grant a parent custody of an

 unemancipated child who is over eighteen, but under twenty-one, and to issue a
 declaratory ruling that the child is dependent on the parent and is not

 emancipated.” 453 N.J. Super. at 21. The court noted “ample precedent for

 declaring children over the age of eighteen to be unemancipated when they are still

 completing their education, are economically dependent on their parents, and

 remain within the parental ‘sphere of influence and responsibility.’” Id. at 28–29

 (quoting Filippone v. Lee, 304 N.J. Super. 301, 308 (App. Div. 1997), and citing

 cases). Furthermore, in a case involving the care or custody of a juvenile between

 the ages of 18 and 21, “either a declaration of unemancipation or a custody order



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 would justify the court in noting, for purposes of a SIJ finding, that the child is

 ‘dependent’ on the court.” Id. at 29 (citing 8 C.F.R. § 204.11(c)).5

       Beyond its unfounded general objection to the Family Part’s exercise of

 jurisdiction over older juveniles, USCIS has also attempted to cast doubt on the

 validity, for SIJS purposes, of any Family Part order entered on the consent of a

 juvenile between the ages of 18 and 21. For example, in affirming the denial of a

 recent SIJS application filed by a juvenile who was 20 when the New Jersey
 Family Part ordered him into his older brother’s custody, the USCIS

 Administrative Appeals Office reasoned that “a custody determination by the

 Petitioner’s consent does not show that the family court could have ordered the
 Petitioner’s reunification with his parents had the family court found that to be the



 5
   The Third Circuit’s seemingly contrary decision in M.B. v. Quarantillo, 301 F.3d
 109 (3d Cir. 2002), has been vitiated by subsequent statutory amendments and
 New Jersey court decisions. In Quarantillo, the Third Circuit held that the INS
 district director had not abused his discretion under the APA by relying in part on a
 purported “jurisdictional limit of 18 years of age” under New Jersey law to deny
 consent for a 19-year-old to seek SIJ Findings from a juvenile court. Id. at 116.
 The consent provisions then in effect under the SIJS Statute gave the INS
 significantly greater discretion than the current law allows. See Mem. from
 Donald Neufeld, Acting Assoc. Dir., Domestic Ops., USCIS, to Field Leadership
 3–4 (March 24, 2009) (explaining how the TVPRA narrowed the consent
 provisions) (A-4–5). What is more, the New Jersey courts have now expressly
 affirmed their jurisdiction to make SIJ Findings for unemancipated 18-21-year-
 olds. A.E.C., 453 N.J. Super. at 29. On this question of state law, the state courts
 control. Brady v. Maryland, 373 U.S. 83, 90 (1963) (“We usually walk on
 treacherous ground when we explore state law, for state courts, state agencies, and
 state legislatures are its final expositors under our federal regime.”). For these
 same reasons, the Third Circuit’s deference to the INS in Yeboah v. U.S. Dep’t of
 Justice, 345 F.3d 216, 224–25 (3d Cir. 2003), has little bearing in this case.


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 appropriate remedy.” In re J-A-M-R-, 2018 WL 6617332 (USCIS Admin. Appeals

 Office Nov. 28, 2018).

       This objection to orders entered on a juvenile’s consent fares no better than

 USCIS’s other challenges to the Family Part’s authority. It is true that New Jersey

 law requires or at least recommends the consent of older juveniles to certain

 custodial placements. E.g., N.J. Stat. Ann. § 9:6-8.54(c) (requiring juvenile’s

 consent to continue a foster placement beyond the juvenile’s 18th birthday); A.E.C.,

 453 N.J. at 29 (authorizing the state courts to place an older juvenile in a parent’s

 custody when “both the child and the parent consent” but relying on best-interest

 findings alone to order older juvenile into parent’s custody). But nothing in the
 SIJS Statute invalidates or casts doubt on a custody order entered with the consent

 of the juvenile where state law requires such consent. J.L. v. Cissna, 341 F. Supp.

 3d at 1061 (“USCIS points to no state or federal authority to support the
 proposition that a court lacks jurisdiction solely because its power to exercise

 authority is conditioned on a party’s consent.”); R.F.M. v. Nielsen, 2019 WL

 1219425, *20 (recognizing the validity of New York guardianship orders entered

 on consent of the juvenile). Thus, Defendants have no more basis in federal law to

 disregard state court orders entered on the juvenile’s consent than to disregard state

 court orders entered on behalf of 18-21-year-olds in general.

       D.     Defendants Violate the APA by Imposing a New Eligibility
              Requirement for SIJS Without the Process the Statute Requires.
       Agency action must be invalidated if it occurs “without observance of
 procedure required by law.” 5 U.S.C. § 706(2)(D). Here, USCIS failed to comply


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 with the APA’s procedural requirements in three distinct ways. First, USCIS did

 not provide a reasoned explanation for its new policy. Second, it did not engage in

 the notice-and-comment period required for the adoption of substantive rules under

 5 U.S.C. § 553. Third, even if the new policy is not a substantive rule, USCIS

 failed to publish the policy in the Federal Register as required by 5 U.S.C. § 552.

 Each procedural defect invalidates the policy.

             1.     Defendants failed to offer a reasoned explanation for their
                    departure from established practice.
       “[T]he requirement that an agency provide reasoned explanation for its
 action would ordinarily demand that it display awareness that it is changing

 position.” F.C.C. v. Fox Television Stations, Inc., 556 U.S. 502, 515 (2009). Thus,

 an agency may not “depart from a prior policy sub silentio or simply disregard
 rules that are still on the books.” Id. Failure to acknowledge and provide a

 reasoned explanation for the policy change will render the agency’s action

 arbitrary and capricious under the APA. CBS Corp. v. F.C.C., 663 F.3d at 138; see

 also Encino Motorcars, LLC v. Navarro, 136 S. Ct. 2117, 2126 (2016) (stating that

 an “unexplained inconsistency in agency policy is a reason for holding an

 interpretation to be an arbitrary and capricious change from agency practice”

 (internal quotation marks omitted)). Moreover, when explaining a policy change,

 the “agency must also be cognizant that longstanding policies may have

 engendered serious reliance interests that must be taken into account.” Encino

 Motorcars, 136 S. Ct. at 2126 (internal quotation marks omitted). In those cases,

 “a reasoned explanation is needed for disregarding facts and circumstances that


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 underlay or were engendered by the prior policy.” Fox Television Stations, 556

 U.S. at 515–16.

       Here, USCIS’s new policy represents a change requiring a “reasoned

 explanation.” There is no dispute that before mid-2018, USCIS routinely granted

 SIJS to juveniles who filed based on 18+ Family Part Orders. Then, without a

 reasoned explanation, and without any relevant change in federal law, USCIS

 reversed course such that it now delays and denies such petitions, Mandelbaum

 Decl. ¶¶ 18, 20, 25 (A-169–71); Odom Decl. ¶ 14, 16 (A-181), while continuing to

 grant the petitions of younger juveniles based on essentially identical factual

 predicates, W.A.O. Decl. ¶ 29 (younger siblings, whose experiences mirrored his,
 granted SIJS) (A-98). USCIS’s failure to acknowledge this policy change—much

 less provide a reasoned explanation for it—renders its action arbitrary and

 capricious in violation of the APA. J.L., 341 F. Supp. 3d at 1063–64 (“Issuing
 guidance where none had existed for nearly a decade constitutes a change that

 requires a reasoned explanation, particularly when that guidance has resulted in

 drastically different outcomes in similar cases.”); see also Fox Television Stations,

 556 U.S. at 515.

              2.    Defendants adopted and enforced the new eligibility
                    requirement without notice-and-comment rulemaking.
       The APA requires that a federal agency follow prescribed notice-and-

 comment procedures before adopting a substantive rule. 5 U.S.C. § 553. As part

 of the rule-making process, the agency must provide (1) notice to the public, (2) an

 opportunity for interested persons to participate in the rule-making, and (3) a


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 concise general statement of the rule’s basis and purpose. 5 U.S.C. § 553(b)–(c).

 These requirements apply “only to so-called ‘legislative’ or ‘substantive’ rules.”

 Lincoln v. Vigil, 508 U.S. 182, 196 (1993); see also 5 U.S.C. § 553(b)(A).

       Whether an agency action triggers the notice-and-comment requirement is

 “determined not by reference to the label given the action by the agency, but rather

 by the substance of the action itself and its practical effects on affected parties.”

 City of Jersey City v. Pierce, 669 F. Supp. 103, 108 (D.N.J. 1987); see also Cerro

 Metal Prods. v. Marshall, 620 F.2d 964, 981 (3d Cir. 1980) (“[T]he function of the

 court is to decide what a rule ‘really’ does and then require a rule substantially

 affecting a legal right to be promulgated by notice-and-comment rulemaking or
 else be held invalid”). A substantive rule “has the force of law.” Pierce, 669 F.

 Supp. at 108. In subsequent administrative proceedings under such a rule, “the

 issues are whether the adjudicated facts conform to the rule and whether the rule
 should be waived or applied in that particular instance.” Id. When an agency

 action deprives decision-makers of the “flexibility to handle agency matters on a

 case-by-case basis,” the action “may properly be viewed as [a] substantive rule[]
 subject to invalidation for noncompliance with the requirements of the APA.” Id.

       Here, USCIS’s new policy is a substantive rule that required it to abide by

 the APA’s notice-and-comment procedures. The policy “‘narrowly limits agency

 discretion’ and . . . ‘effectively replaced agency discretion with a new binding rule

 of substantial law.’” R.F.M., 2019 WL 1219425, at *21 (quoting J.L., 341 F. Supp.

 3d at 1065). USCIS’s lack of discretion is evidenced by its cookie-cutter denials of

 SIJS applications based on 18+ Family Part Orders ever since it implemented its


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 new policy. See, e.g., W.A.O. Decl. Ex. B (A-107–08); H.H.M.C. Decl. Ex. B (A-

 124–25) (denying Plaintiffs’ SIJS applications under nearly identical articulations

 of the governing policy). USCIS’s failure to comply with the notice-and-comment

 requirement invalidates its new substantive rule.

              3.     Defendants failed to provide timely or adequate notice of
                     the change in policy.
       Even if the Court determines that USCIS’s new policy is not a “substantive

 rule,” USCIS nonetheless violated the APA by failing to publish it in the Federal

 Register. An agency’s “statements of general policy or interpretations of general

 applicability” must be published in the Federal Register. 5 U.S.C. § 552(a)(1)(D).

 A policy or interpretation is of “general applicability” if it results in a “significant

 impact upon any segment of the public.” Powderly v. Schweiker, 704 F.2d 1092,
 1098 (9th Cir. 1983), cited with approval in Kahn v. United States, 753 F.2d 1208,

 1222 (3d Cir. 1985).

       Here, USCIS’s policy significantly affects a segment of the public. Under
 this policy, USCIS has delayed and denied scores of SIJS applications submitted

 by juveniles who relied on 18+ Family Part Orders. Mandelbaum Decl. ¶¶ 18, 20,

 25 (A-169–71); Odom Decl. ¶¶ 14, 16 (A-181). The impact on this segment of the
 public requires USCIS to have published its new policy in the Federal Register.

 See Morton v. Ruiz, 415 U.S. 199, 233–36 (1974) (requiring publication when new

 policy, which was contained only in agency’s internal affairs manual, disqualified

 Native Americans otherwise within class of beneficiaries of general assistance

 program); Neighborhood Legal Servs., Inc. v. Legal Servs. Corp., 466 F. Supp.


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 1148, 1155 (D. Conn. 1979) (requiring publication when agency denied funding to

 legal services organization because there were too few “migrant workers” in its

 service area, but had not previously published numerical requirement or definition

 of “migrant worker”).

       In this case, USCIS not only failed to publish the policy in the Federal

 Register; it failed to announce the policy publicly at all. The agency released

 neither the OCC Guidance nor the CHAP, and press statements related to the new

 policy were inconsistent.6 Lawyers in New Jersey surmised the existence of a new

 policy from long delays in the adjudication of their older SIJS clients’ applications,

 followed by a spate of Requests for Evidence (RFEs) and Notices of Intent to Deny

 (NOIDs) that signaled the policy.      Mandelbaum Decl. ¶¶ 14–16 (A-167–68).

 These RFEs and NOIDs demanded proofs that “the state court had jurisdiction

 under the state law to make a legal conclusion about returning you to your
 parent(s)’ custody” or that “the court order you submitted was issued by a juvenile

 court with jurisdiction over your care and custody as a juvenile under the state law

 of New Jersey.” Id. ¶ 15 (A-168). USCIS’s failure to provide any official notice

 of the change dooms the new policy under the APA. 5 U.S.C. §§ 552(a)(1)(D),

 706(2)(D).


 6
   Compare Liz Robbins, A Rule Is Changed for Young Immigrants, and Green
 Card Hopes Fade, N.Y. Times, April 18, 2018 (quoting USCIS spokesperson
 Jonathan Withington denying any change in policy) (A-44) with Statement of
 USCIS Spokesperson Jonathan Withington (April 24, 2018), appended to Ted
 Hesson, USCIS Explains Juvenile Visa Denials, Politico, Apr. 25, 2018 (explaining
 change in policy) (A-57).


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       E.     Defendants Violate the APA by Imposing a New Eligibility
              Requirement for SIJS that Deprives Plaintiffs and Class Members
              of this Relief Without Due Process of Law.
       The APA requires that courts “shall . . . hold unlawful and set aside agency

 action, findings, and conclusions found to be . . . contrary to constitutional right,

 power, privilege, or immunity.” 5 U.S.C. § 706(2)(B).

       Immigrants who are physically present and who have developed substantial
 connections to this country are protected by the Due Process Clause. Zadvydas v.

 Davis, 533 U.S. 678, 693 (2001); Landon v. Plasencia, 459 U.S. 21, 32 (1982). In

 Osorio-Martinez v. Attorney General, the Third Circuit held that SIJS grantees are
 among those immigrants whose substantial connections to this country allow them

 to invoke the Due Process Clause. 893 F.3d 153, 168 (3d Cir. 2018). The court

 reasoned that “these children have satisfied rigorous eligibility criteria for SIJ
 status, denoting them as wards of the state with obvious implications for their

 relationship to the United States” and that “Congress accorded these children a

 range of statutory and procedural protections that establish a substantial legal

 relationship with the United States.” Id. (citations omitted).

       Although Plaintiffs and members of the Proposed Class are SIJS applicants

 rather than grantees, they share with the Osorio-Martinez plaintiffs the kinds of

 connections to the United States that entitle them to claim constitutional protection.

 They have lived in this country for years, pursuing their education and building or

 reestablishing family ties. E.g., W.A.O. Decl. ¶¶ 23–26 (discussing reunification

 with mother and siblings in Elizabeth, high school graduation, employment, and

 plans for further schooling) (A-96–97); N.L.J. Decl. ¶¶ 28–31 (describing home


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 with older sister and her family in New Brunswick, high school graduation, and

 employment) (A-132). Class members have appeared in the Family Part to seek

 protection, and that court has placed them with caretakers in this State; found that

 reunification with one or both of their parents is not viable because of abuse,

 neglect, or abandonment; and concluded that it is not in their best interest to return

 to their countries of origin.7 E.g., W.A.O. Decl. Ex. A (A-102–04); H.H.M.C.

 Decl. Ex. A (A-120–21); N.L.J. Decl. Ex. A (A-137–39); K.M.R.L. Decl. Ex. A
 (A-154–55).

       Plaintiffs have applied to USCIS for SIJS and faced delays and threatened or

 actual denials, not because they fail to meet Congress’s criteria for SIJS, but

 because of the new and invalid eligibility requirement USCIS has imposed. But

 for this barrier, Plaintiffs and the class they represent would qualify for SIJS,

 gaining the “host of legal rights and protections” it offers. Osorio-Martinez, 893
 F.3d at 161 n.7. These benefits include mandatory and discretionary exemptions

 from otherwise applicable grounds of inadmissibility and an opportunity to obtain

 lawful permanent residency.       8 U.S.C. § 1255(a), (h).       Both the statutory
 requirements for eligibility and the benefits that flow from SIJS “attest to SIJ


 7
   Indeed, the Family Part’s acceptance of jurisdiction in a child custody case itself
 demonstrates a SIJS applicant’s strong ties to the State. The Family Part may
 assert jurisdiction only if (among other factors) New Jersey “is the home state of
 the child” or was so “within six months before the commencement of the
 proceeding”; the child and at least one parent “have a significant connection with
 this State other than mere physical presence”; and “substantial evidence is
 available in this State concerning the child’s care, protection, training and personal
 relationships.” N.J. Stat. Ann. § 2A:34-65(a)(1), (2).


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 designees’ dependency and close ties with state and federal authorities . . . and a

 relationship to the United States that far exceeds that of aliens ‘on the threshold of

 initial entry’ or ‘apprehended within hours of surreptitiously entering the United

 States.’” Osorio-Martinez, 893 F.3d at 170 (citation omitted).

       Due process protections attach to the statutory rights Congress has accorded

 to SIJS-eligible youth. Osorio-Martinez, 893 F.3d at 172; Dia v. Ashcroft, 353

 F.3d 228, 239 (3d Cir. 2003) (en banc). Plaintiffs and members of the Proposed

 Class have a constitutionally protected interest in the fair and lawful consideration

 of their petitions for SIJS. Osorio-Martinez, 893 F.3d at 172; Yeboah, 345 F.3d at

 223. Yet Defendants have failed to adjudicate Plaintiffs’ and class members’
 applications in accordance with the law. Instead, Defendants have concocted and

 then imposed a policy of disqualifying them from SIJS.           Plaintiffs and class

 members had no notice of this policy and no opportunity to object to it. They have
 therefore been deprived of the most basic elements of due process, in violation of

 the APA. Dia, 353 F.3d at 239 (“[W]e look to see if the process at issue fits with

 the notion that ‘[t]he fundamental requirement of due process is the opportunity to
 be heard at a meaningful time and in a meaningful manner.’”) (quoting Mathews v.

 Eldridge, 424 U.S. 319, 333 (1976)).

 II.   Plaintiffs and Class Members Face Immediate, Irreparable Harm.
       To show irreparable harm, a movant must prove an imminent threat of

 serious harm. Campbell Soup Co. v. Conagra, Inc., 977 F.2d 86, 91 (3d Cir.

 1992). The “potential harm” must be such that it “cannot be redressed by a legal or

 an equitable remedy following a trial. The preliminary injunction must be the only

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 way of protecting the plaintiff from harm.” Id. at 92 (quoting Instant Air Freight

 Co. v. C.F. Air Freight, Inc., 882 F.2d 797, 801 (3d Cir. 1989)).

       Plaintiffs will face immediate irreparable harm that cannot be mitigated by

 monetary damages if the Court denies the injunction. In Osorio-Martinez, the

 Third Circuit held that SIJS grantees would face irreparable harm if they were

 subject to expedited removal. 893 F.3d at 179. This holding rested on the findings

 of the juvenile court “that reunification with one or more of the child’s parents was

 not viable due to abuse, neglect, or abandonment, and that it would not be in the

 child’s best interest to be returned to his or her country of origin.” Id. The Family

 Part has made these same findings as to each Plaintiff and class member.
       The Osorio-Martinez court also found irreparable harm because removal

 would nullify petitioners’ pending applications for adjustment of status. Id. at 172,

 179. Plaintiffs here also face an immediate threat of removal and concomitant loss
 of the opportunity to become lawful permanent residents. W.A.O. Decl. ¶ 31 (A-

 99); H.H.M.C. Decl. ¶ 25 (A-117); N.L.J. Decl. ¶ 36 (A-134); K.M.R.L. Decl. ¶ 18

 (A-151). As this Court has recognized, deportation in derogation of the law is “the
 ultimate irreparable harm.” De Jesus Martinez v. Nielsen, 341 F. Supp. 3d 400,

 409 (D.N.J. 2018); Padilla v. Kentucky, 559 U.S. 356, 365 (2010) (recognizing

 “that deportation is a particularly severe ‘penalty’”) (citation omitted).8

 8
   Even those class members not yet in removal proceedings face an imminent risk
 of deportation under the government’s recently adopted policy of filing removal
 proceedings against undocumented immigrants whose petitions for immigration
 relief, including SIJS petitions, are denied. USCIS, Policy Memorandum: Updated
 Guidance for the Referral of Cases and Issuance of Notices to Appear (NTAs) in
 Cases Involving Inadmissible and Deportable Aliens, Point V, at 7 (June 28, 2018)

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       For some Plaintiffs and class members, the already severe harm of

 deportation is aggravated by the grave dangers they face in their countries of

 origin. See Cruz-Gonzalez ex rel. D.M.S.C. v. Kelly, No. CV 16-5727, 2017 WL

 3390234, at *6 (E.D. Pa. Aug. 7, 2017) (finding irreparable harm to mother and

 daughter if they were forced to return to El Salvador to face renewed gang

 violence). Plaintiffs W.A.O., H.H.M.C., and N.L.J. suffered threats, harassment,

 and assaults by gang members before they fled their home countries. W.A.O.

 Decl. ¶¶ 14–22, 32–33 (A-94–96, A-99); H.H.M.C. Decl. ¶¶ 13–15, 26 (A-113–14,

 A-117); N.L.J. Decl. ¶¶ 19–26 (A-131–32). Returning them to face renewed

 violence would cause them irreparable harm.
       The forced separation of a family also constitutes irreparable harm. Ms. L. v.

 U.S. Immigration & Customs Enf’t, 310 F. Supp. 3d 1133, 1146 (S.D. Cal. 2018)

 (citing Leiva-Perez v. Holder, 640 F.3d 962, 969–70 (9th Cir. 2011); Washington
 v. Trump, 847 F.3d 1151, 1169 (9th Cir. 2017)). Evidence presented in Ms. L

 demonstrated that “[s]eparation from family leaves children more vulnerable to

 exploitation and abuse, no matter what the care setting.” Id. at 1147; see also
 J.S.R. ex rel. J.S.G. v. Sessions, 330 F. Supp. 3d 731, 742–43 (D. Conn. 2018)

 (plaintiffs suffered irreparable harm from family separation, including depression

 and PTSD). Plaintiffs, who are already vulnerable based on their troubled family

 histories, fear losing the connections they have formed with their custodians in

 New Jersey. K.M.R.L. Decl. ¶ 19 (“I do not want to lose the support I have from

 (A-78); see also J.L., 341 F. Supp. 3d at 1069 (concluding that for SIJS applicants
 not already in proceedings, “removal is at least likely to occur”).


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 the loving home [my older brother] has provided.”) (A-151); W.A.O. Decl. ¶ 34 (“I

 cannot imagine what life would be like if I were ripped away from [my mother’s]

 care.”) (A-100); H.H.M.C. Decl. ¶ 28 (“My mother and stepfather provide me the

 support I need and take care of me. I can’t stand the idea that I could be separated

 from my family again.”) (A-117); N.L.J. Decl. ¶ 40 (“I do not want to leave my

 sister and her husband. They care for me and protect me in ways my parents never

 did.”) (A-134). If the preliminary injunction is not granted, these juveniles will be

 unable to remain with the court-appointed custodians who provide them healthy

 and loving homes. Their Family Part orders establish that they have no fit parent

 to care for them in their home countries. E.g., N.L.J. Decl. ¶¶ 33, 37, & Ex. A (A-
 132, A-134, A-137); K.M.R.L. Decl. ¶¶ 15, 20, & Ex. A (A-150, A-152, A-154).

       Even short of the severe harms of deportation and family separation,

 Plaintiffs and class members face irreparable harm. As the Third Circuit held in
 Osorio-Martinez, SIJS itself confers a host of immigration and other benefits.

 893 F.3d at 161 n.7, 163, 171. “The loss of these benefits by itself constitutes

 irreparable harm.” J.L., 341 F. Supp. 3d at 1068.
       One such benefit is access to health care.9 Deprived of health care coverage

 by Defendants’ denial of their SIJS petitions, class members generally cannot


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   New Jersey has opted into CHIP and Medicaid coverage for “lawfully present”
 immigrant youth up to age 19 and 21, respectively. Centers for Medicare &
 Medicaid Servs., Medicaid and CHIP Coverage of Lawfully Residing Children and
 Pregnant Women, https://www.medicaid.gov/medicaid/outreach-and-enrollment/
 lawfully-residing/index.html. A juvenile with SIJS or one whose SIJS application
 is pending counts as “lawfully present.” Letter from Centers for Medicare &
 Medicaid Servs. to State Health Officials 3 (July 1, 2010),

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 obtain medically necessary services, including mental health services to address

 the trauma of parental abuse or neglect, often compounded by prolonged exposure

 to gang violence. Declaration of Douglas Bishop, M.D. ¶¶ 7–18 (Apr. 9, 2019) (A-

 187–94); W.A.O. Decl. ¶ 36 (A-100). The resulting damage to Plaintiffs’ and class

 members’ health constitutes irreparable harm. Riley v. Brown, No. 06-00331, 2006

 WL 842437, at *10 (D.N.J. Mar. 29, 2006) (“Courts have frequently found that an

 injunction is the appropriate remedy where a plaintiff’s health or well-being is

 threatened.”)

       Further, the delay and denial of SIJS severely curtails Plaintiffs’ and class

 members’ opportunities for educational achievement and professional growth.
 Many cannot afford to go to college.10 Instead, they find work in the “distinct

 ‘unauthorized labor market.’” Declaration of Judith Meltzer ¶ 11 (Apr. 18, 2019)

 (A-205–06).     In this market, workers are concentrated in low-wage sectors,

 underpaid even within those sectors, and frequently employed only for short

 periods. Id. ¶¶ 11–14 (A-205–08). Plaintiffs’ experiences illustrate this problem.

 N.L.J. works as a painter, but he wants to study to become a math teacher or


 https://downloads.cms.gov/cmsgov/archived-downloads/SMDL/downloads/SHO
 10006.pdf.
 10
    A new law in New Jersey extends state financial aid to undocumented college
 students who attended a local high school for at least three years. N.J. Higher
 Educ. Student Assistance Auth., Fin. Aid Resources for New Jersey Dreamers,
 https://www.hesaa.org/Pages/NJAlternativeApplication.aspx. But such aid has
 been available for only a few months, and juveniles who arrive in the U.S. in their
 late teens may not attend N.J. high schools long enough to qualify. Id.; see also
 N.J. Higher Educ. Student Assistance Auth., Frequently Asked Questions for New
 Jersey Dreamers, https://www.hesaa.org/Documents/NJAltAPPQnA.pdf.


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 accountant, options closed to him unless he gains legal status. N.L.J. Decl. ¶¶ 31,

 41 (A-132, A-134). H.H.M.C. left high school to take a construction job to help

 support his family, but he dreams of learning to work with airplanes. H.H.M.C.

 Decl. ¶¶ 19–20 (A-115). As the court in J.L. concluded, “[w]ithout green cards,

 Plaintiffs’ professional opportunities are not just limited, they are virtually

 eliminated,” causing irreparable harm. 341 F. Supp. 3d at 1069.

 III.   The Balance of Equities and the Public Interest Favor Plaintiffs.
        When the government is the opposing party, consideration of the balance of

 equities and the public interest merge. Nken v. Holder, 556 U.S. 418, 435 (2009);

 Osorio-Martinez, 893 F.3d at 178. In Nken, the Supreme Court weighed the

 “public interest in preventing aliens from being wrongfully removed, particularly

 to countries where they are likely to face substantial harm” against the “public

 interest in prompt execution of removal orders.” 556 U.S. at 436. Here, that
 balance favors Plaintiffs and members of the Proposed Class. They would qualify

 for SIJS but for Defendants’ unlawful imposition of a new eligibility requirement,

 and a grant of SIJS would qualify them to apply for lawful permanent residency
 once visas become available. 8 U.S.C. § 1255(a), (h). They are not presently

 subject to removal orders, as was the petitioner in Nken, reducing the government’s

 interest in immediate immigration enforcement against them.         A preliminary

 injunction would protect the public interest in the appropriate interpretation and

 implementation of the SIJS Statute, which Congress passed to protect juveniles

 like Plaintiffs from the harm of deportation to countries where they lack fit
 caretakers and would therefore face both deprivation and violence alone.

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                                  CONCLUSION
       For these reasons, Plaintiffs respectfully request that the Court preliminarily

 enjoin Defendants from enforcing their new eligibility requirement for SIJS against

 applicants who were 18-21 years old when they obtained juvenile court orders.




 April 29, 2019                                      s/ Catherine Weiss
                                                     Catherine Weiss
                                                     Natalie J. Kraner
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                                                         and Proposed Class




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